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                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA

 v.                                               Case No. 3:22-cr-141-TJC-PDB

 SCOTT ANDREW HOLLINGTON

                PRELIMINARY ORDER OF FORFEITURE FOR
                    DEFENDANT’S MEDICAL LICENSE

       THIS CAUSE comes before the Court upon the filing of the United States=

Consent Motion for Preliminary Order of Forfeiture for the defendant’s medical

license, registered in the name of Scott Andrew Hollington, License Number:

ME124829 (“medical license”).

       Being fully advised of the relevant facts, the Court hereby finds that the United

States has established the requisite nexus between the defendant’s medical license, and

the 14 counts of violations of 21 U.S.C. § 841(a)(1) (Unlawful Distribution of

Controlled Substances), for which the defendant was found guilty on July 25, 2023, by

a jury. Accordingly, it is hereby

       ORDERED, ADJUDGED and DECREED that for good cause shown, the

United States= consent motion, Doc. 233 is GRANTED.

       It is FURTHER ORDERED that, pursuant to the provisions of 21 U.S.C.

§ 853 and Fed. R. Crim. P. 32.2(b)(2) and (4), all right, title and interest in the

defendant’s medical license is hereby FORFEITED to the United States for

disposition according to law.
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         It is FURTHER ORDERED that this is a final order of forfeiture as to the

defendant.

         The Court retains jurisdiction to enter any further orders necessary for the

forfeiture and disposition of the defendant’s medical license and to entertain any third-

party claims that may be filed in these proceedings.

            DONE and ORDERED in Jacksonville, Florida, this 25th day of

   March, 2024.




   cc:      Counsel of Record
            AUSA Nicole Andrejko




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